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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


   IN RE BENICAR (OLMESARTAN)             MDL No. 2606
   PRODUCTS LIABILITY
   LITIGATION                             Master Case No. 15-2606 (RBK/JS)

                                          Hon. Robert B. Kugler, U.S.D.J.
                                          Hon. Joel Schneider, U.S.M.J.
   THIS DOCUMENT RELATES TO
   ALL CASES

   __________________________________________________________________

        DEFENDANTS’ BRIEF IN SUPPORT OF MOTION TO EXCLUDE
                   TESTIMONY OF DR. DAVID KESSLER
    __________________________________________________________________




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                             PRELIMINARY STATEMENT

            The issue before the Court is general causation: Do olmesartan-containing

   medications cause sprue-like enteropathy? Plaintiffs’ expert Dr. David Kessler

   offers three opinions that are irrelevant to this issue: (1) whether there is a causal

   association between olmesartan-containing medications and sprue-like enteropathy

   under the federal regulatory labeling standard; (2) when defendants should have

   known of that association and revised the warning label on its olmesartan-

   containing products; and (3) defendants’ conduct in responding to causal

   association evidence. Opinions two and three have nothing to do with general

   causation—– and therefore challenges to those opinions will be made at a later date

   if the case survives the Daubert challenges.

            To the extent Plaintiffs attempt to use Dr. Kessler’s “causal association”

   opinion—pertinent to label changes—to establish scientifically-based general

   causation, their approach cannot survive a Daubert challenge for two reasons.

   First, Courts have consistently rejected attempts to use the lower regulatory causal

   association standard as proof of general causation; the lower standard pertinent to

   labeling changes is not the correct standard to assess scientific causation questions

   and is thus irrelevant to a general causation inquiry. Second, Dr. Kessler’s causal

   association opinion—even if permitted—is not derived from a reliable, scientific

   methodology. As established below, he ignores a double-blind randomized



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   controlled trial—the “gold standard” of causation evidence—that found no

   association between olmesartan and sprue-like enteropathy, as well as three

   observational epidemiological studies reaching the same result. He relies instead

   on anecdotal, uncontrolled case reports, the lowest form of evidence. When

   epidemiology exists, “it cannot be ignored.” Norris v. Baxter Healthcare Corp.,

   397 F.3d 878, 882 (10th Cir. 2005). And his case report “analysis” is unreliable

   because it is subjective, skewed toward a predetermined result, and almost entirely

   based on the “say-so” of another of plaintiffs’ experts, Dr. Daniel Leffler —whose

   opinion itself is untethered to any objective criteria establishing that the case

   reports show what Plaintiffs term “olmesartan-associated enteropathy.”

            In short, because Dr. Kessler’s regulatory causation association opinion does

   not “fit” the general causation inquiry before the Court, it should be excluded from

   any such analysis. Even if it were germane to the issue at hand it should be

   excluded because it is not the product of a reliable methodology. Fed. R. Evid.

   702; Daubert v. Merrell Dow Pharms., Inc. 409 U.S. 579 (1993).

                                 STATEMENT OF FACTS

            The Defendants incorporate by reference the General Statement of Facts as

   set forth in the Daubert challenge to Dr. Hutfless.




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                                   LEGAL ARGUMENT

   I.       DR. KESSLER’S REGULATORY CAUSAL ASSOCIATION
            OPINION DOES NOT ESTABLISH GENERAL CAUSATION.
            Dr. Kessler’s opinion—that there is reasonable evidence of a causal

   association between olmesartan and sprue-like enteropathy under the FDA labeling

   standard—does not establish general causation. It is well-established that proof of

   a causal association is not proof of general causation. In re TMI Litig., 193 F.3d

   613, 710 n.159 (3d Cir. 1999) (“Association does not necessarily imply a causal

   relationship.”). It is, rather, “the duty of scientists to rigorously analyze the data to

   determine whether an association is causal.” Henricksen v. ConocoPhillips Co.,

   605 F. Supp. 2d 1142, 1175 (E.D. Wash. 2009). Dr. Kessler did not take this next

   step – he stopped at “association” and never did the “rigorous analysis” to

   determine whether any claimed associations were in fact causal. See Certification

   of Daniel B. Carroll (“Carroll Cert.”), Exhibit A, Report of David Kessler, M.D.

   (“Kessler Rep.”) at ¶¶ 2-6; Carroll Cert., Exhibit B, Deposition of David Kessler,

   M.D. (“Kessler Dep.”) at 150:15-18 (“I’m telling you the standard that I used in

   this report was reasonable evidence, right, of a causal association.”).

            Dr. Kessler also expressly ties his opinion to a regulatory labeling standard

   that by its own terms distinguishes casual association from a definitive causal

   relationship: “[L]abeling must be revised to include a warning about a clinically

   significant hazard as soon as there is reasonable evidence of a causal association

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    with [the] drug; a causal relationship need not have been definitively established.”

    21 C.F.R. § 201.57(c)(6)(i). Dr. Kessler admitted that this regulation sets a lower

    bar than that required to establish general causation and confined his opinion to

    this lower standard. See, e.g., Carroll Cert., Exhibit B, Kessler Dep. at 265:14-23.

    (“Counselor, again, my standard, again, is [the FDA labeling standard of]

    reasonable evidence of a causal association, . . . I leave it to you . . . what causality

    is.”). Indeed, he expressly stated that he would “leave [it] to the lawyers and the

    courts” whether that standard was the same as medical causation. Id. at 150:25-

    151:3. The courts have made clear it is not.

             A causation opinion based on the regulatory labeling standard sheds no light

    on general causation, and multiple federal courts have exclude regulatory causation

    opinions for this reason. In Monroe v. Novartis Pharms. Corp., for example, the

    district court precluded an FDA expert from offering causation opinions tied to the

    regulatory labeling standard because: “regulatory causation is not recognized as a

    legitimate form of causation.” No. 1:12-cv-746, 2014 WL 12586426, at *5 (S.D.

    Ohio Sept. 15, 2014) (emphasis added), Carroll Cert., Exhibit K, (citing Matthews

    v. Novartis Pharms. Corp., No. 3:12-cv-314, 2013 U.S. Dist. LEXIS 153519, at

    *67-68 (S.D. Ohio Sept. 20, 2013) Carroll Cert., Exhibit L.

             In Rowland v. Novartis Pharms. Corp., the court precluded a regulatory

    expert from offering “causation testimony of any kind.” 9 F. Supp. 3d 553, 562


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    (W.D. Pa. 2014); see also In re Mirena IUD Prod. Liab. Litig., 169 F. Supp. 3d

    398, 476 (S.D. N.Y. 2016) (excluding opinion based on “causal association” under

    21 C.F.R. § 201.57(c)(6) [labeling regulation] for failure to differentiate that

    standard from “general medical causation”); Guenther v. Novartis Pharms. Corp.,

    No. 6:08-cv-456-Orl-31DAB, 2013 WL 1278089, at *3 (M.D. Fla. Mar. 28, 2013)

    (excluding opinions “regarding any alleged 'causal association'” between drug and

    injury) Carroll Cert., Exhibit M.

             In In re Trasylol Prods. Liab. Litig., the court excluded such opinions in part

    because the expert could not respond to a cross-examination question asking why

    she was not simply offering “a back door causation opinion in the guise of talking

    about information available and regulatory affairs[.]” 709 F. Supp. 2d 1323, 1340

    (S.D. Fla. 2010). Similarly, the court in Georges v. Novartis Pharm. Corp. rejected

    an opinion about “regulatory 'causal association'” as “confusing at best” and likely

    to impermissibly allow the jury to rely on the opinion in evaluating causation. No.

    CV 06-5207 SJO (VBKx), 2012 WL 9064768, at *10 (C.D. Cal. Nov. 2, 2012)

    Carroll Cert., Exhibit N.

             The cases rejecting regulatory causation opinions rest on a decades-old body

    of law recognizing that the FDA’s regulatory warning standard is precautionary

    and irrelevant to scientific questions of causation. The FDA itself has stated that its

    decisions “need not meet the standard of proof required to prevail in a private tort


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    action.” 67 Fed. Reg. 72555, 72556 (FDA Dec. 6, 2002) (citing Glastetter v.

    Novartis Pharms. Corp., 252 F. 3d 986, 991 (8th Cir. 2001)). And the agency has

    reiterated that position time and again. See, e.g., Carroll Cert., Exhibit C, FOOD

    AND    DRUG ADMIN., CENTER FOR DRUG EVALUATION AND RESEARCH, MEDWATCH

    CONTINUING                EDUCATION             ARTICLE:         THE          CLINICAL

    IMPACT          OF        ADVERSE        EVENT         REPORTING        2       (1996),

    https://www.fda.gov/downloads/Safety/MedWatch/UCM168505.pdf                 (“Causality

    is not a prerequisite for MEDWATCH reporting; suspicion that a medical product

    may be related to a serious event is sufficient reason for a health professional to

    submit a MEDWATCH report.”) (emphases in original); Exhibit D, FOOD AND DRUG

    ADMIN.,        GUIDANCE        FOR       INDUSTRY:         E2E   PHARMACOVIGILANCE

    PLANNING             12        (2005),           https://www.fda.gov/downloads/Drugs/

    GuidanceComplianceRegulatoryInformation/Guidances/ucm073107.pdf                (“Series

    of case reports . . . are generally more useful for generating hypotheses than for

    verifying an association between drug exposure and outcome.”); see also

    discussion, infra, at section II(A).

             In Glastetter, for example, the plaintiff offered as proof of general causation

    the FDA’s determination that Parlodel was no longer shown to be safe and

    effective. 252 F.3d at 991; see 59 Fed. Reg. 43347-01, 43351 (FDA Aug. 23,

    1994). The court, however, found the FDA’s action not only insufficient to prove


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    causation, but “irrelevant in determining the threshold question posed in this

    appeal: whether Glastetter’s experts properly ‘ruled in’ Parlodel as a cause of

    [strokes].” Glastetter, 252 F.3d at 991 (emphases added).

             Courts across the country have ruled the same. See, e.g., In re Denture

    Cream Prods. Liab. Litig., No. 09-2051-MD, 2011 WL 9375632, at *14 (S.D. Fla.

    July 22, 2011) (“Plaintiffs’ experts may not establish causation by reliance on the

    FDA Notice.”) Carroll Cert., Exhibit O; Newton v. Roche Laboratories, Inc., 243

    F. Supp. 2d 672, 677 (W.D. Tex. 2002) (rejecting labeled warning as proof of

    causation under Daubert because “tort law requires a 'higher standard' of

    causation.”); Soldo v. Sandoz Pharms. Corp., 244 F. Supp. 2d 434, 543 (W.D. Pa.

    2003) (rejecting FDA action as proof of causation because FDA’s mission is not to

    determine causation, but “to control which drugs are marketed in the United States

    and how they are marketed.”); see also Hollander v. Sandoz Pharms. Corp., 95 F.

    Supp. 2d 1230, 1234 n. 9 (W.D. Okla. 2000), aff’d in part and remanded, 289 F.3d

    1193 (10th Cir. 2002) (FDA’s standard reflects a “‘preventative perspective.’”)

    (quoting Mitchell v. Gencorp Inc., 165 F.3d 778, 783 n. 3 (10th Cir. 1999));

    Federal Judicial Center, Reference Manual on Scientific Evidence 33 (2d ed. 2000)

    (“[R]isk assessors may pay heed to any evidence that points to a need for caution,

    rather than assess the likelihood that a causal relationship in a specific case is more

    likely than not.”).


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             In short, Dr. Kessler’s causal association opinion based on the federal

    regulatory labeling standard does not “fit” the issue before the Court and should be

    excluded from any general causation analysis.

    II.      DR. KESSLER’S REGULATORY CAUSATION OPINION -
             EVEN IF IT WERE RELEVANT TO GENERAL CAUSATION -
             IS NOT DERIVED FROM A RELIABLE, SCIENTIFIC
             METHODOLOGY.

             A.    Dr. Kessler’s Disregard of High-Level Evidence in Favor of
                   Case Reports Is Unscientific and Precludes Reliance on His
                   Causal Association Opinion to Support General Causation.
             Dr. Kessler ignores four of five epidemiologic studies that did not find a

    statistically significant causal association between olmesartan and sprue-like

    enteropathy. See Carroll Cert., Exhibit E Deposition of Daniel A. Leffler, M.D.

    (“Leffler Dep.”) at 282:1-4, 312:7-313:10 (conceding that four of five

    epidemiological studies, including the double-blind, randomized controlled

    ROADMAP study, showed no statistically significant association). When

    expressly challenged at his deposition to identify evidence not supporting his

    opinions, Dr. Kessler still ignored the epidemiology, responding that two of 62

    case reports Dr. Leffler excluded were the only “things that come to mind[.]”

    Carroll Cert., Exhibit B., Kessler Dep. at 168:2-169:1.

             Dr. Kessler certainly is familiar with this branch of science, since he relied

    on epidemiological studies in unsuccessfully offering a general cause opinion for

    plaintiffs in the Zoloft litigation. See In re Zoloft (Sertralinehydrochloride) Prod.

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    Liab. Litig., 176 F. Supp. 3d 483, 496-97 & 496 n. 81 (E.D. Pa. 2016) (noting “Dr.

    Kessler does recognize the importance of [epidemiologic] evidence in establishing

    causation” but excluding his opinion in part because “there is no evidence that Dr.

    Kessler himself has reconciled the contrary studies using scientifically acceptable

    methodology.”)

             In the hierarchy of scientific evidence relevant to causation, epidemiology is

    at the apex. See Norris, 397 F.3d at 882. Dr. Leffler (on whom Dr. Kessler relies

    extensively) concedes as much. See Carroll Cert., Exhibit E, Leffler Dep. at 283:9-

    25 (agreeing case reports, opinion papers, and letters are the “very bottom” of the

    hierarchy of evidence.) Here, there is a randomized controlled trial (ROADMAP)

    and three observational epidemiological studies finding no causal association

    between olmesartan and sprue-like enteropathy, and only one observational

    epidemiological study reaching a contrary result. See Carroll Cert., Exhibit F, J.

    Menne et al., Olmesartan and Intestinal Adverse Effects in the ROADMAP Study,

    Mayo Clin. Proc. at 1230-1232 (December 2012); Exhibit G, R. Greywoode et al.,

    Olmesartan, other anti-hypertensives, and chronic diarrhea among patients

    undergoing endoscopic procedures; a case control study, Mayo Clin. Proc., Sept.

    2014, at 1239-1243; Exhibit H, S. Lagana et al., Sprue-like histology in patients

    with abdominal pain taking olmesartan compared with other angiotensin receptor

    blockers, Journal of Clinical Pathology, 2015, at 29-32; Exhibit I, R. Padwal et al.,


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    Comparative Effectiveness of Olmesartan and Other Angiotensin Receptor

    Blockers in Diabetes Mellitus, Hypertension, May 2014, at 977-983. The Manual

    on Scientific Evidence explains that a randomized controlled trial is the “gold

    standard” and “the best way to ensure that any observed difference between the

    two groups in outcome is likely to be the result of exposure to the drug”. FJC,

    Reference Manual on Scientific Evidence at 555 (3d ed. 2011).

             Dr. Kessler fails to explain why he ignored available epidemiologic studies.

    He does cite a number of sources, including FDA statements about case reports,

    the Bradford-Hill criteria, and various causality assessment tools, including the one

    used by defendants, as support for his reliance on case reports. Carroll Cert.,

    Exhibit A, Kessler Rep. at ¶¶ 35-53. But none supports ignoring epidemiology in

    favor of case reports when drawing conclusions about general causation, for the

    reasons set out in Defendants’ Daubert motions addressing Drs. Leffler, Lebwohl,

    Lagana and Hutfless, which defendants incorporate by reference and will only

    briefly address here. See Defendants’ Brief in Support of Motion to Exclude

    Testimony of Dr. Daniel Leffler and Dr. Benjamin Lebwohl; Defendants’ Brief in

    Support of Motion to Exclude the Testimony of Plaintiffs’ Expert Susan Hutfless,

    Ph.D.; Defendants’ Brief in Support of Motion to Exclude the Testimony of

    Plaintiffs’ Expert Dr. Stephen Lagana. The reasons include:




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             The FDA’s standards for evaluating case reports do not assess scientific

    causation, for the reasons explained in Section I, supra. See Carroll Cert., Exhibit

    A, Kessler Rep. at ¶¶ 41-48. The FDA itself has made this point repeatedly, stating,

    for example, that adverse event reports may reflect “quite subjective and

    imprecise” evaluation of product-relatedness, that it is established that “placebos

    and even no treatment can be associated with adverse events,” and that unlike data

    from clinical trials “which are obtained under strictly controlled conditions,

    spontaneously reported information is uncontrolled, and therefore subject to the

    possible influence of a number of biases that can affect reporting.”). See Carroll

    Cert., Exhibit C, FOOD     AND   DRUG ADMIN., CENTER   FOR   DRUG EVALUATION       AND

    RESEARCH, MEDWATCH CONTINUING EDUCATION ARTICLE: THE CLINICAL IMPACT

    OF           ADVERSE             EVENT        REPORTING            2            (1996),

    https://www.fda.gov/downloads/Safety/MedWatch/UCM168505.pdf;              see      also

    Exhibit J, FOOD      AND   DRUG ADMIN., CENTER       FOR   DRUG EVALUATION         AND

    RESEARCH, OFFICE        OF   EPIDEMIOLOGY     AND    BIOSTATISTICS, DIVISION        OF

    PHARMACOVIGILANCE AND EPIDEMIOLOGY, SURVEILLANCE AND DATA PROCESSING

    BRANCH, ANNUAL ADVERSE DRUG EXPERIENCE REPORT: 1996 1 (1997) (adverse

    event data “may not be used to calculate instances or estimates of drug risk.”).

             The Bradford-Hill criteria assess associations found in epidemiologic

    studies, and do not provide a methodology for deriving general causation opinions


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    from case reports. See Carroll Cert., Exhibit A, Kessler Rep. at ¶ 35; Dunn v.

    Sandoz Pharms. Corp., 275 F. Supp. 2d 672, 677-80 (M.D.N.C. 2003); see also In

    re: Lipitor (Atorvastatin Calcium) Mktg., Sales Practices & Prods. Liab. Litig.,

    174 F. Supp. 3d 911, 925 (D.S.C. 2016).

             Neither the causality assessment tools nor the clinical practice textbook Dr.

    Kessler cites support using case reports to assess general causation in the context

    of a Daubert hearing. See Carroll Cert., Exhibit A, Kessler Rep. at ¶¶ 36-42.; see

    also, e.g., Glastetter v. Novartis Pharm. Corp., 107 F. Supp. 2d 1015, 1037 n. 21

    (E.D. Mo. 2000), aff’d 252 F.3d 986 (8th Cir. 2001) (causality assessment scales

    lack objective reliability); Soldo, 244 F. Supp. 2d at 465, ¶ 256 (causality

    assessment “data are not controlled or subject to statistical evaluation and the

    ‘assessment’ is necessarily based on the self-selected and limited information

    provided.”); Okuda v. Wyeth, No. 1:04-CV-80DN, 2012 WL 12337860, at *2 (D.

    Utah July 24, 2012) (“The causality assessments are clearly not a scientifically

    reliable means to determine the cause of cancer and will not be admitted for this

    purpose.”) Carroll Cert., Exhibit P.

             A reliable assessment of causation cannot ignore available epidemiology.

    Norris, 397 F.3d at 882.




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             B.    Dr. Kessler’s Process for Selecting Case Reports Is
                   Subjective, Skewed Toward a Predetermined Result, and
                   Almost Entirely Based on Dr. Leffler’s Ipse Dixit.
             Daubert precludes opinions grounded in “a subjective, conclusory approach

    that cannot reasonably be assessed for reliability.” Campbell, Jr. v. Consol. Rail

    Corp., No. 1:05-CV-1501, 2009 WL 36890, at *5 (N.D.N.Y. January 6, 2009)

    Carroll Cert., Exhibit Q. A reliable opinion about causation must instead be rooted

    in “scientific knowledge.” In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 742 (3d

    Cir. 1994). And “any step that renders the analysis unreliable under the Daubert

    factors renders the expert’s testimony inadmissible.” Id. at 745 (emphasis in

    original).

             Dr. Kessler relies on 60 case reports that he and Dr. Leffler opine show

    “olmesartan-associated enteropathy,” and include a positive rechallenge (i.e.,

    symptoms abated when the patient stopped taking the drug and returned when she

    restarted it). See Carroll Cert., Exhibit A, Kessler Rep. at § VII. His process for

    selecting and reviewing these reports must rest on objective criteria objectively

    applied—even to support an opinion about causal association. His process falls

    short in multiple respects. Indeed, it exemplifies why anecdotal data derived from

    often incomplete and ambiguous case reports merely “raise questions [but] do not

    answer them.” McClain v. Metabolife Int’l, Inc., 401 F.3d 1233, 1254 (11th Cir.

    2005).


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                   1.    Uncertain and subjective search terms.
             Dr. Kessler cannot explain with reasonable specificity how the

    approximately 9,540 case reports defendants produced “were reviewed for

    evidence of serious rechallenge cases involving olmesartan and symptoms of

    olmesartan associated enteropathy.” Carroll Cert., Exhibit A, Kessler Rep. at ¶ 77.

    He did not even conduct the search but rather gave a list of terms and date ranges

    to plaintiffs’ counsel and then “spot-checked” the results. Carroll Cert., Exhibit B,

    Kessler Dep. at 175: 15-177:2. Another MDL court recently noted with disfavor

    Dr. Kessler’s reliance on schedules prepared by legal counsel at his request: “The

    Court . . . cannot conclude that these schedules represent analysis by Dr. Kessler,

    rather than by unknown staff employed by Plaintiffs’ counsel.” In re Zoloft

    (Sertralinehydrochloride) Prod. Liab. Litig., 176 F. Supp. 3d at 497 n. 82.

             Dr. Kessler states the search was designed to find “serious reports with a

    positive rechallenge and symptoms (terms) of diarrhea, vomiting, and/or celiac

    disease.” Carroll Cert., Exhibit A, Kessler Rep. at ¶ 77. But he did not maintain his

    search term list, and could not reproduce specific terms or identify specific date

    ranges searched. Carroll Cert., Exhibit B, Kessler Dep. at 190:19-191:6 (“I think

    the instructions I gave was did anything that signaled rechallenge . . . I don’t recall

    exactly . . . I have a couple of them written down, I think, somewhere.), 191:15-17

    ("[A]t some point I made a list. I don’t recall exactly, I have to go back and


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    reconstruct that in my head.”), 172:12-25 (“I have to go back and double-check.

    . . . It was meant to be a ten-year period.”).

             Opinions generated through a data selection process incapable of being

    replicated and evaluated for accuracy do not survive Daubert review. See Zenith

    Elecs. Corp. v. WH-TV Broadcasting Corp., 395 F.3d 416, 419 (7th Cir. 2005)

    (“Someone else using the same data and methods must be able to replicate the

    result”). Dr. Kessler’s inability to describe how he culled 62 reports from 9,540

    except in vague and subjective terms is alone reason to exclude his opinion.

                   2.    Failure to define “Olmesartan-Associated
                         Enteropathy”.

             Dr. Kessler’s “reasonable evidence of a causal association” opinion begs a

    key question—a causal association with what? Dr. Kessler testified that serious

    diarrhea and vomiting are characteristic of what he terms “olmesartan-associated

    enteropathy,” but refused to be pinned down on the specifics of what other criteria

    he and Dr. Leffler relied on. See, e.g., Carroll Cert., Exhibit B, Kessler Dep. at

    160:16-17, 165:9-10 (olmesartan-associated enteropathy characterized by “severe

    gastrointestinal symptoms,” or “the serious constellation of symptoms”; see also

    Carroll Cert., Exhibit E, Leffler Dep. at 18:8-19:6 (criteria of Mayo Clinic article

    are merely “representative,” because “olmesartan enteropathy” includes “a wider

    spectrum of symptoms.”); see also Exhibit B, Kessler Dep. at. at 238:19-21 (“Q.



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    Where did you get the term ‘olmesartan-associated enteropathy’? A. I have no idea

    . . . I—you know, I have—I have seen it. I have seen it in different places. . . .”).

             Dr. Kessler rejected as “too vague” the criteria used by the Mayo Clinic

    authors to identify SE, and did not analyze whether any of his 60 cases would have

    qualified for the Mayo case series. Id. at 238:19-239:6, 246:15-21. His explanation

    does not reflect the approach of an objective scientist:

                  I mean, “sprue-like enteropathy” to me is too vague
                  because there are other things, so I wanted to make sure
                  that what we are talking about was an enteropathy that
                  was associated with olmesartan, because that’s what I
                  care about, that clinical picture.
    Carroll Cert., Exhibit B, Kessler Dep. at 239:1-6 (emphasis added). When asked

    what criteria he supplied to Dr. Leffler, Dr. Kessler’s response was similarly

    unilluminating: “[W]hat he saw, observed, was it consistent with a—with a defined

    kind of pharmacologically and phenomenologically syndrome, and, I mean, did it

    fit that, that pattern.” Id. at 330:17-20. In like manner, his written instructions to

    Dr. Leffler identified no objective criteria, but merely asked for a determination

    whether “the presentation of symptoms in each of these patients after taking

    olmesartan is consistent with the clinical syndrome of olmesartan-associated

    enteropathy.” See Carroll Cert., Exhibit B, Kessler Dep. at 200:7-19; see also id. at

    200:20-25 (Kessler provided no further guidance to Dr. Leffler).




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             Dr. Kessler appears to be saying that olmesartan-associated enteropathy is

    characterized by symptoms that show it is olmesartan-associated enteropathy. This

    kind of circular reasoning is a hallmark of unreliability. See Soldo, 244 F. Supp. 2d

    at 522, ¶ 922 (“Dr. Petro’s attempt to rule out AVM as an alternative cause of

    plaintiff’s stroke by relying on the fact that she had taken Parlodel is circular and

    evidence of an unreliable scientific methodology.”); Jones v. Bagley, No. C-1:01-

    cv-564, 2010 WL 654287, at * 54 (S.D. Ohio Feb. 19, 2012) (rejecting “circular

    reasoning [that] ‘this is a bite wound because eikenella is present and eikenella is

    present because this is a bite wound.’”) Carroll Cert., Exhibit R.

             Because he fails to objectively define the clinical entity with which he

    claims olmesartan is causally associated, Dr. Kessler’s methodology is too

    subjective to be reproducible or reviewable for reliability. Cf. In re Denture Cream

    Prods. Liab. Litig., No. 09-2051-MD, 2011 WL 9375632, at *10 (S.D. Fla. July

    22, 2011) (discounting probative value of case reports where disease lacked “a

    well-established clinical presentation” and reports may not have used plaintiffs’

    experts’ definition) Carroll Cert., Exhibit O. This subjective, “I know it when I see

    it” approach pervades the whole of Dr. Kessler’s analysis.

                   3.    Subjective and biased review of case reports.
             Dr. Kessler calls positive rechallenge “a bedrock methodology of

    establishing a reasonable causal association between a drug and an adverse event.”


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    Exhibit A, Kessler Rep. at ¶ 1. It follows that the bedrock of his causal association

    opinion is his identification of 60 case reports reflecting positive rechallenge. But

    his deposition testimony reveals that his classification process depended largely on

    subjective judgment calls. When pressed to specify his selection process, Dr.

    Kessler used phrases like “clinical gestalt,” “the clinical ring,” and “total clinical

    picture.” Carroll Cert., Exhibit B, Kessler Dep. at 202:12-18, 259:19. Dr. Kessler, a

    pediatrician by training, has never diagnosed a patient with olmesartan-associated

    enteropathy; nor has he published on that subject or others relevant to the medical

    issues in this case. See id. at 48:2-4, 65:25-66:4, 157:20-158:12. A methodology

    dependent on an individual physician’s “clinical gestalt”—particularly that of a

    non-specialist—epitomizes the “subjective, conclusory approach that cannot

    reasonably be assessed for reliability.” See Campbell, Jr., 2009 WL 36890 at *5.

             Equally emblematic of a subjective and unverifiable approach is an expert’s

    inability to quantify how much data is necessary to support his conclusion. Dr.

    Kessler could not say how many purported rechallenge case reports were

    “enough,” ultimately summarizing: “[P]eople can decide for themselves.” Carroll

    Cert., Exhibit B, Kessler Dep. at 310:21-22; id. at 309:6-310:22 (refusing to

    specify how many case reports were sufficient to show a causal association under

    the FDA standard and admitting “it’s not that I have a magic number”). But

    “‘[h]ypotheses are verified by testing, not by submitting them to lay juries for a


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    vote.’” Chapman v. Proctor & Gamble, 766 F.3d 1296, 1311-12 (11th Cir. 2014)

    (quoting In re Denture Cream Prods. Liab. Litig., 795 F. Supp. 2d 1345, 1367

    (S.D. Fla. 2011)).

             Dr. Kessler also repeatedly declined to identify objective criteria for

    handling various potentially confounding factors in case reports. On the contrary,

    his responses to hypothetical questions on this point reflect precisely the sort of

    data-skewing toward a predetermined result that objective criteria guard against.

    For example, when asked whether it would matter if the symptom that abated on

    dechallenge was an event other than diarrhea, vomiting, or celiac, Dr. Kessler

    responded: “So what mattered . . . [was] whether, as a clinician, when I read these,

    right, did I believe . . . that the rechallenge . . . really was a good rechallenge . . .

    [B]ecause when you think about it, if there is a good rechallenge, it is—it’s not

    confounded.” Carroll Cert., Exhibit B, Kessler Dep. at 201:6-202:5 (emphasis

    added). In other words, a potential confounder is per se irrelevant so long as Dr.

    Kessler—“as a clinician” (who has never diagnosed the condition at issue)—

    declares the case report to show a “good rechallenge.” This is reminiscent of Dr.

    Kessler’s circular definition of “olmesartan-associated enteropathy,” and is equally

    emblematic of a subjective and unreliable methodology. See Soldo, 244 F. Supp.

    2d at 522, ¶ 922.




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             Dr. Kessler’s deposition testimony contains other examples of similarly

    biased and subjective reasoning:

                 When asked whether it mattered under his positive rechallenge

                  “criteria” if the patient was receiving treatment for the symptom

                  during the period it abated (the dechallenge), Dr. Kessler

                  dismissed this as a potential confounder, because it would be

                  “highly coincidental” if anything but olmesartan caused the

                  symptom to reappear. Carroll Cert., Exhibit B, Kessler Dep. at

                  203:23-204:22; see also id. at 205:20-206:20 (it would not

                  matter if the symptom returned when treatment for it was

                  discontinued, because that is “not the way these things work”

                  and only if the patient stopped and restarted ingestion of gluten

                  and olmesartan at the “exact same time” would he consider

                  there to be a confounder).




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                When asked if he instructed Dr. Leffler to require complete

                 resolution of symptoms for a positive dechallenge, Dr. Kessler’s

                 response was vague and unmoored to any neutral standard: “I

                 was looking for—well, I was looking for—no, I—what I was

                 requiring, okay, was a—what I asked him to do was to tell me

                 whether there was a positive rechallenge. So he got to interpret

                 medically and use his clinical judgment, was this a positive

                 rechallenge.” Carroll Cert., Exhibit B, Kessler Dep. at 210:9-

                 211:18.

                When asked how he would handle a case report containing

                 ambiguous information about rechallenge, Dr. Kessler would

                 ask Dr. Leffler to “[u]se your judgment. Do you think—use

                 your—a rechallenge, read the—through all the data I have

                 given you. Do you think from this clinical story, is—is this

                 rechallenge confounded or is it not confounded.” Id. at 212:5-

                 11; see also id. at 212:12-2:13:4 (Dr. Kessler was “not that

                 concerned” about a confounded rechallenge because Dr. Leffler

                 said it “strains credibility” to think something other than

                 olmesartan caused a symptom to resume).




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             The manner in which Dr. Kessler answered—or refused to answer—

    hypothetical questions testing his “positive rechallenge” selection method reveals a

    pattern of biased assumptions supporting a predetermined conclusion. And the

    subjective nature of Dr. Kessler’s review appears to have led him to put his thumb

    on the scale for plaintiffs in other respects as well. For instance, he applied a

    double-standard when assessing the credibility of patient-reported symptoms. A

    report in which the patient stated her symptoms came and went depending on

    whether she was taking olmesartan conclusively established a causal association,

    making other factors not apparent from the report—diet, other medications—

    “pretty much irrelevant.” Carroll Cert., Exhibit B, Kessler Dep. at 255:6-12,

    257:23-258:24, 259:21-23. Yet Dr. Kessler also included a report reflecting the

    patient’s belief that olmesartan did not cause her symptoms, and when asked why,

    offered an explanation bereft of objective reasoning:

                  There was no—I mean, why would—there was no
                  information that Benicar would cause that, so why would
                  the patient think that. And, two, there is a lot of
                  misdiagnosis on celiac. Every—I mean, you and I, we—
                  clinically we know that there is a lot of misdiagnosis, so
                  there is a lot of misinformation.

    Id. at 266:25-267:14. In like manner, he refused to concede that the Mayo Clinic

    authors treating live patients had better medical history data than he— because

    patients “are not as good historians.” Id. at 250:22-251:6.



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             Assigning weight to evidence depending on whether it supports one’s

    preferred hypothesis signals a subjective, outcome-oriented, and unreliable

    approach. See In re TMI Litig., 193 F.3d at 704 (affirming exclusion of expert who

    manipulated a subjective scoring system to tilt the results in the plaintiffs’ favor).

    So, too, does resorting to advocacy, as Dr. Kessler did. Carroll Cert., Exhibit B,

    Kessler Dep. at 267:20-268:8 (sidestepping question about the patient who did not

    think her symptoms were caused by olmesartan and lecturing defense counsel:

    “[T]the problem I have with your client’s conduct here was you don’t explain away

    things and look for excuses. That’s what happened here.”). Advocacy will not

    substitute for a reliable methodology. See In re Methyl Tertiary Butyl Ether

    (MTBE) Prods. Liab. Litig., 593 F. Supp. 2d 549, 564 (S.D. N.Y. 2008) (expert

    should “leave the advocacy to the lawyers.”).

             The Third Circuit explained in In re TMI Litig. that “it is impossible to test a

    hypothesis generated by a subjective methodology because the only person capable

    of testing or falsifying the hypothesis is the creator of the methodology.” 193 F.3d

    at 703 n. 144; see also Elcock v. Kmart Corp., 233 F.3d 734, 747 (3d Cir. 2000)

    (“[B]ecause Copemann never explained his method in rigorous detail, it would

    have been nearly impossible for Kmart’s experts to repeat Copemann’s apparently

    subjective methods[.]”). Dr. Kessler’s process for compiling his list of 60 cases




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    report lacks objective standards permitting meaningful review. The opinions he

    derived from it are, accordingly, inadmissible.

                   4.    Uncritical reliance on Dr. Leffler’s ipse dixit.

             Experts may rely on the opinions of other experts under Federal Rule of

    Evidence 703. But they may not “simply ‘parrot’ those experts’ ideas. Leese v.

    Lockheed Martin Corp., 6 F. Supp. 3d 546, 553 (D. N.J. 2014). In In re TMI Litig.,

    for example, the Third Circuit affirmed the district court's exclusion of an expert

    based on his “failure to assess the validity of the opinions of the experts he relied

    upon together with his unblinking reliance on those experts’ opinions[.]” 193 F.3d

    at 716. These factors signaled an unreliable methodology “not calculated to

    produce reliable results.” Id. at 716.

             Even less reliable is complete trust in another expert’s say-so. Cf. General

    Elec. v. Joiner, 522 U.S. 136, 146 (1997) (a court is not required "to admit opinion

    evidence that is connected to existing data only by the ipse dixit of the expert.”). At

    first, Dr. Kessler testified that he himself is qualified to diagnose “olmesartan-

    associated enteropathy,” and claimed to have confirmed Dr. Leffler’s findings after

    careful review. Carroll Cert., Exhibit A, Kessler Rep. at ¶ 79; Carroll Cert., Exhibit

    B, Kessler Dep. at 201:13-23 (testifying that he “read these forms very carefully,”

    used a “totality of clinical judgment,” and determined “whether that rechallenge

    really was a good rechallenge.”). But he quickly backed off that testimony as the


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    deposition progressed, repeatedly deferring to Dr. Leffler when unsure how

    various questions raised by case reports should be handled: For instance, Dr.

    Kessler counted reports where the time from first ingestion of olmesartan until

    initial onset of symptoms ranged from one month to five years. Carroll Cert.,

    Exhibit A, Kessler Rep. at p. 31 (## 34, 40, 41). Yet when asked how this wide

    span in time periods factored into his analysis, Dr. Kessler deferred to Dr. Leffler.

    Carroll Cert., Exhibit B, Kessler Dep. at 294:17-295:16 (“I think, if I’m correct,

    Leffler did raise that issue and took that into account.”).

             This pattern of wholesale reliance on Dr. Leffler continued in Dr. Kessler’s

    deposition. See discussion, supra, at subsection (3); see also Carroll Cert., Exhibit

    B, Kessler Dep. 192:9-21 (when asked whether time to improvement of symptoms

    was used in selection process, Dr. Kessler answered “it was certainly one of the

    criteria that—I believe Dr. Leffler, that’s the kind of clinical judgment that I

    wanted.”). In fact, Dr. Kessler was unable to articulate with any specificity how he

    would rule a report in or out if Dr. Leffler was unsure. Id.at 215:9-15 (“Q. And

    would you have said to Dr. Leffler, if he had asked you, ‘Don’t count that one’? A.

    I would say ‘Tell me whether you think it’s a positive rechallenge or a . . . true

    positive rechallenge,’ which would mean, in essence, the—the drug was the

    causative agent here, was—was linked.”). In sum, regardless of whether Dr.

    Leffler used reliable criteria to rule case reports in or out (he did not, as more fully


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    explained in defendants’ motion challenging his opinions), it is fair to say that if

    Dr. Leffler called it “olmesartan-associated enteropathy,” that was good enough for

    Dr. Kessler:

                   Q.   . . . If it were unclear which of the events reported
                        here got worse upon restarting olmesartan, would
                        the report count or not count for your opinion?

                   A.   So this—so this would only count if . . . Dr. Leffler
                        had concluded that it was consistent with
                        olmesartan-associated enteropathy—I think he
                        uses the term “olmesartan-associated enteropathy”
                        —and not consistent with something else. That's
                        the only way it would count.

                   Carroll Cert., Exhibit B, Kessler Dep. at 243:25-14
                   (objection omitted).

                   Q.   . . . Going into the future, she says she is
                        continuing to have episodes, but she has gone off
                        Benicar, so future, after this report. Would that be
                        irrelevant to you, that information?

                   A.   . . I would have expected, if those were the facts,
                        that Dr. Leffler would look at those facts and say
                        whether that pattern is consistent with olmesartan-
                        induced enteropathy. . . . I don’t know what he
                        would have said.

    Id. at 264:3-265:8 (objection omitted).

                   Q.   . . . And so 60 that you identified or Dr. Leffler
                        identified as supporting or being consistent with
                        what you call olmesartan-associated enteropathy?

                   A.   Yes . . . because I really don’t care what the name
                        is. What I care was serious GI that was—that had a
                        positive rechallenge where a—that a seasoned
                        gastroenterologist looked at and said it was

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                          consistent with a picture of the syndrome induced
                          by olmesartan. That’s how I got to the 60.

                   Q.     And would it be irrelevant to you, in deciding
                          whether a report was going to be one of the 60,
                          that the patient did not believe that Benicar was the
                          cause of her events?

                   A.    So that—again, I mean, I didn’t use independent
                         judgment on that. Leffler made that call, but let me
                         just tell you—but I am happy to tell you my
                         opinion on this.

    Id. at 266:12-267:7 (emphasis added).

             By leaving it to Dr. Leffler to decide if a case report was in or out—and then

    deferring to him when asked to explain methodology—Dr. Kessler demonstrates

    the kind of “unblinking reliance” warranting exclusion. In re TMI Litig., 193 F.3d

    at 713-716.




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                                    CONCLUSION
             Because Dr. Kessler’s regulatory causation association opinion does not fit

    the general causation before the Court, it should be excluded from any such

    analysis. Even if permitted to air, it should be excluded because it is not the

    product of a reliable methodology.




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